     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 1 of 32 Page ID
                                     #:11211


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18                        CENTRAL DISTRICT OF CALIFORNIA
19
      Bureau of Consumer Financial              CASE NO. 8:19-cv-01998 MWF (KS)
20    Protection, et al.,
                                                 STIPULATION AS TO ENTRY OF
21                                               FINAL JUDGMENT AND ORDER AS T
            Plaintiffs,
22                                               DEFENDANT ALBERT KIM

23          v.

24                                              Court: Hon. Michael W. Fitzgerald
      Consumer Advocacy Center Inc., d/b/a
                                                Courtroom 5A
25    Premier Student Loan Center, et al.,

26          Defendants.
27
                                          1
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 2 of 32 Page ID
                                     #:11212


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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 3 of 32 Page ID
                                     #:11213


 1    STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER AS
 2                          TO DEFENDANT ALBERT KIM
 3         Plaintiffs the Bureau of Consumer Financial Protection (Bureau), the State
 4   of Minnesota, the State of North Carolina, and the People of the State of California
 5   (collectively, Plaintiffs) commenced this civil action on October 21, 2019, filed an
 6   amended complaint on February 24, 2020, a second amended complaint on April
 7   20, 2021, and a third amended complaint (Third Amended Complaint) on August
 8   5, 2021, to obtain permanent injunctive relief, damages, rescission or reformation
 9   of contracts, refunds of moneys paid, restitution, disgorgement or compensation for
10   unjust enrichment, civil money penalties, and other monetary and equitable relief
11   from: (1) Defendants Consumer Advocacy Center Inc., d/b/a Premier Student Loan
12   Center; True Count Staffing Inc., d/b/a SL Account Management; Prime
13   Consulting LLC, d/b/a Financial Preparation Services; TAS 2019 LLC, d/b/a
14   Trusted Account Services; Horizon Consultants LLC; First Priority LLC, d/b/a
15   Priority Account Management; Albert Kim; Kaine Wen in his individual capacity
16   and as trustee of the Kaine Wen 2017 Trust; and Tuong Nguyen; and (2) Relief
17   Defendants Infinite Management Corp., f/k/a Infinite Management Solutions Inc.;
18   Hold the Door, Corp.; TN Accounting Inc.; Mice and Men LLC; Sarah Kim; 1st
19   Generation Holdings, LLC; Anan Enterprise, Inc.; and Judy Dai in her individual
20   capacity and as trustee of the Judy Dai 2017 Trust.
21         The Third Amended Complaint alleges violations of sections 1031(a) and
22   1036(a) of the Consumer Financial Protection Act of 2010, 12 U.S.C. §§ 5531(a),
23   5536(a); the Telemarketing and Consumer Fraud and Abuse Prevention Act,
24   15 U.S.C. § 6102(c)(2), based on alleged violations of the Telemarketing Sales
25   Rule, 16 C.F.R. pt. 310; the Minnesota Prevention of Consumer Fraud Act, Minn.
26   Stat. §§ 325F.68-.694; the Minnesota Uniform Deceptive Trade Practices Act,
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                                          3
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 4 of 32 Page ID
                                     #:11214


 1   Minn. Stat. §§ 325D.43-.48; the North Carolina Debt Adjusting Act, N.C. Gen.
 2   Stat. § 14-423 et seq.; the North Carolina Telephonic Seller Registration Act, N.C.
 3   Gen. Stat. § 66-260 et seq.; the North Carolina Unfair and Deceptive Practices Act,
 4   N.C. Gen. Stat. § 75-1.1; and the California Unfair Competition Law, Cal. Bus. &
 5   Prof. Code § 17200 et seq. in connection with the above-named defendants’
 6   marketing and sale of debt-relief services. The Third Amended Complaint also
 7   includes claims for avoidance of fraudulent transfers under the Federal Debt
 8   Collection Procedures Act, 28 U.S.C. §§ 3001-3308, and the California Uniform
 9   Voidable Transactions Act, Cal Civ. Code §§ 3439-3439.14.
10          The (1) Plaintiffs and (2) Defendant Albert Kim (Settling Defendant)
11   stipulate to the entry of a stipulated final judgment and order, lodged concurrently
12   with this stipulation, with the following terms and provisions:
13

14                                          FINDINGS
15          1.      This Court has jurisdiction over the parties and the subject matter of
16   this action.
17          2.      Settling Defendant neither admits nor denies the allegations in the
18   Third Amended Complaint, except as specifically stated herein. For purposes of
19   this Order, Settling Defendant admits the facts necessary to establish the Court’s
20   jurisdiction over him and the subject matter of this action.
21          3.      Settling Defendant waives all rights to seek judicial review or
22   otherwise challenge or contest the validity of this Order and any claim he may
23   have under the Equal Access to Justice Act, 28 U.S.C § 2412, concerning the
24   prosecution of this action to the date of this Order. Each Party agrees to bear its
25   own costs and expenses, including, without limitation, attorneys’ fees.
26          4.      Entry of this Order is in the public interest.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 5 of 32 Page ID
                                     #:11215


 1                                      DEFINITIONS
 2   The following definitions apply to this Order:
 3         5.     “Affected Consumers” includes any consumer who paid Defendants
 4   or their officers, agents, servants, employees, or attorneys for any Debt-Relief
 5   Service from November 2, 2015, to October 23, 2019.
 6         6.     “Assets” means any legal or equitable interest in, right to, or claim to
 7   any real, personal, or intellectual property owned or controlled by, or held, in
 8   whole or in part for the benefit of, or subject to access by any Defendant, wherever
 9   located, whether in the United States or abroad. This includes, but is not limited to,
10   chattel, goods, instruments, equipment, fixtures, general intangibles, effects,
11   leaseholds, contracts, mail or other deliverables, shares of stock, commodities,
12   futures, inventory, checks, notes, accounts, credits, receivables (as those terms are
13   defined in the Uniform Commercial Code), funds, cash, and trusts.
14         7.     “Assist[ing] Others” includes, but is not limited to:
15                a.    consulting in any form whatsoever;
16                b.    providing paralegal or administrative support services;
17                c.    performing customer service functions, including but not
18                limited to, receiving or responding to consumer complaints;
19                d.    formulating or providing, or arranging for the formulation or
20                provision of, any advertising or marketing material, including but not
21                limited to, any telephone sales script, direct mail solicitation, or the
22                text of any Internet website, email, or other electronic communication
23                or advertisement;
24                e.    formulating or providing, or arranging for the formulation or
25                provision of, any marketing support material or service, including but
26                not limited to, web or Internet Protocol addresses or domain name
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 6 of 32 Page ID
                                     #:11216


 1                 registration for any Internet websites, affiliate marketing services, or
 2                 media placement services;
 3                 f.    providing names of, or assisting in the generation of, potential
 4                 customers;
 5                 g.    performing marketing, billing, or payment services of any kind;
 6                 and
 7                 h.    acting or serving as an owner, officer, director, manager, or
 8                 principal of any entity.
 9         8.      “Bankruptcy Proceeding” means In re Consumer Advocacy Center
10   Inc., Case No. 19-10655, currently pending in the United States Bankruptcy Court,
11   Southern District of Florida, Fort Lauderdale Division.
12         9.      “Bureau” means the Bureau of Consumer Financial Protection.
13         10.     “Consumer Financial Product or Service” is synonymous in meaning
14   and equal in scope to the definition of the term in the CFPA, 12 U.S.C. § 5481(5),
15   and, subject to applicable restrictions contained in the CFPA, includes but is not
16   limited to:
17                 a.    providing financial advisory services to consumers on
18                 individual consumer financial matters or relating to proprietary
19                 financial products or services, including providing credit counseling
20                 to any consumer or providing services to assist a consumer with debt
21                 management or debt settlement, modifying the terms of any extension
22                 of credit, or avoiding foreclosure; and
23                 b.    engaging in deposit-taking activities, transmitting or
24                 exchanging funds, or otherwise acting as a custodian of funds or any
25                 financial instrument for use by or on behalf of a consumer.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 7 of 32 Page ID
                                     #:11217


 1         11.   “Defendants” means Corporate Defendants and Individual
 2   Defendants, individually, collectively, or in any combination, and each of them by
 3   whatever names each might be known;
 4               a.     “Corporate Defendants” means Consumer Advocacy Center
 5               Inc., True Count Staffing Inc., Prime Consulting LLC, TAS 2019
 6               LLC, Horizon Consultants LLC, and First Priority LLC, collectively,
 7               or in any combination, and their successors and assigns, and each of
 8               them by any other names by which they might be known, including
 9               South Coast Financial Center, Direct Account Services, Financial
10               Loan Advisors, Account Preparation Services, Administrative
11               Financial, Tangible Savings Solutions, Coastal Shores Financial
12               Group, First Choice Financial Centre (a/k/a First Choice Financial
13               Center), Administrative Account Services, Primary Account
14               Solutions, Prime Document Services, Financial Accounting Center,
15               Doc Management Solutions, ALW Loans, Administrative Accounting
16               Center, Best Choice Financial Center, First Document Services,
17               Global Direct Accounting Solutions, Keystone Document Center,
18               Pacific Palm Financial Group, Pacific Shores Advisory, Sequoia
19               Account Management, Signature Loan Solutions, Yellowstone
20               Account Services, ClearStudentLoanDebt, Clear Student Loan Debt,
21               Trusted Account Services, Premier Student Loan Center, and Priority
22               Account Management;
23               b.     “Individual Defendants” means Albert Kim, a/k/a Albert King;
24               Kaine Wen, a/k/a Wenting Kaine Dai, Wen-Ting Dai, Wen Ting Dai,
25               Kaine Dai, and Kaine Wen Dai, in his individual capacity and as
26               trustee of the Kaine Wen 2017 Trust; and Tuong Nguyen, a/k/a Tom
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 8 of 32 Page ID
                                     #:11218


 1                  Nelson, collectively, or in any combination, and each of them by any
 2                  other names by which they might be known;
 3                  c.    “Receivership Defendants” means True Count Staffing Inc.,
 4                  Prime Consulting LLC, TAS 2019 LLC, Horizon Consultants LLC,
 5                  and First Priority LLC, collectively, or in any combination, and their
 6                  successors and assigns; and
 7                  d.    “Relief Defendants” means:
 8                        i.     Infinite Management Corp., f/k/a Infinite Management
 9                       Solutions Inc.; Hold the Door, Corp.; TN Accounting Inc.; Mice
10                       and Men LLC; 1st Generation Holdings, LLC; and Anan
11                       Enterprise, Inc., collectively, or in any combination, and their
12                       successors and assigns, and each of them by any other names by
13                       which they might be known; and
14                       ii.     Sarah Kim and Judy Dai, in her individual capacity and
15                       as trustee of the Judy Dai 2017 Trust, and any other names by
16                       which each of them might be known.
17            12.   “Debt-Relief Service” means any program or service represented,
18   directly or by implication, to renegotiate, settle, or in any way alter the terms of
19   payment or other terms of the debt between a consumer and one or more unsecured
20   creditors or debt collectors, including but not limited to, a reduction in the balance,
21   interest rate, or fees owed by a consumer to an unsecured creditor or debt collector.
22            13.   “Effective Date” means the date on which this Order is entered by the
23   Court.
24            14.   “Enforcement Director” means the Assistant Director of the Office of
25   Enforcement for the Bureau of Consumer Financial Protection, or his or her
26   delegate.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 9 of 32 Page ID
                                     #:11219


 1         15.    “Person” means an individual, partnership, company, corporation,
 2   association (incorporated or unincorporated), trust, estate, cooperative
 3   organization, or other entity;
 4         16.    “Plaintiffs” means the Bureau of Consumer Financial Protection, the
 5   State of Minnesota, the State of North Carolina, and the People of the State of
 6   California, collectively, or in any combination.
 7         17.    “Receiver” means Thomas W. McNamara.
 8         18.    “Related Consumer Action” means a private action by or on behalf of
 9   one or more consumers or an enforcement action by another governmental agency
10   brought against Settling Defendant based on substantially the same facts as
11   described in the Third Amended Complaint.
12         19.    “States” means the State of Minnesota, the State of North Carolina,
13   and the People of the State of California.
14         20.    “Service Provider” means any person that provides a material service
15   to a covered person, in connection with the offering or provision by such covered
16   person of a Consumer Financial Product or Service, including a person that—(i)
17   participates in designing, operating, or maintaining the Consumer Financial
18   Product or Service; or (ii) processes transactions relating to the Consumer
19   Financial Product or Service (other than unknowingly or incidentally transmitting
20   or processing financial data in a manner that such data is undifferentiated from
21   other types of data of the same form as the person transmits or processes). “Service
22   provider” does not include a person solely by virtue of such person offering or
23   providing to a covered person—(i) a support service of a type provided to
24   businesses generally or a similar ministerial service; or (ii) time or space for an
25   advertisement for a Consumer Financial Product or Service through print,
26   newspaper, or electronic media.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 10 of 32 Page ID
                                      #:11220


 1          21.    “Settling Defendant” means Defendant Albert Kim, and any other
 2    names by which he may be known.
 3                                    CONDUCT RELIEF
 4                                               I
 5        Permanent Ban on Telemarketing and Offering or Selling Debt-Relief
 6                                           Services
 7          22.    Settling Defendant, whether acting directly or indirectly, is
 8    permanently restrained from:
 9                 a.      participating in telemarketing any Consumer Financial Product
10                 or Service or Assisting Others engaged in telemarketing any
11                 Consumer Financial Product or Service;
12                 b.      participating in or Assisting Others in advertising, marketing,
13                 promoting, offering for sale, selling, or providing any Debt-Relief
14                 Service; and
15                 c.      receiving any remuneration or other consideration from,
16                 holding any ownership interest in, providing services to, or working in
17                 any capacity for any Person engaged in or assisting in advertising,
18                 marketing, promoting, offering for sale, selling, or providing any
19                 Debt-Relief Service.
20    Nothing in this Order shall be read as an exception to this Paragraph.
21                                               II
22                      Prohibited Misrepresentations and Other Conduct
23          23.    Settling Defendant and his officers, agents, servants, employees, and
24    attorneys, and all other Persons in active concert or participation with them, who
25    have actual notice of this Order, whether acting directly or indirectly, in connection
26    with the advertising, marketing, promotion, offering for sale, sale, or performance
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 11 of 32 Page ID
                                      #:11221


 1    of any Consumer Financial Product or Service, may not misrepresent, or Assist
 2    Others in misrepresenting, expressly or impliedly:
 3                 a.      the benefits that a consumer will receive from the product or
 4                 service, including but not limited to, the amount of savings a
 5                 consumer will receive from purchasing, using, or enrolling in the
 6                 Consumer Financial Product or Service;
 7                 b.      the time required to achieve benefits from the Consumer
 8                 Financial Product or Service;
 9                 c.      any aspect of the nature or terms of a refund, cancellation,
10                 exchange, or repurchase policy of the Consumer Financial Product or
11                 Service, including but not limited to, the likelihood of a consumer
12                 obtaining a full or partial refund or the circumstances in which a full
13                 or partial refund will be granted to the consumer; and
14                 d.      the total costs or any other material term, fact, restriction,
15                 limitation, or condition of the Consumer Financial Product or Service.
16                                               III
17                                 State Injunctive Provisions
18          24.    Settling Defendant and his officers, agents, servants, employees, and
19    attorneys, and all other Persons in active concert or participation with them who
20    receive actual notice of this Order, shall be permanently restrained and enjoined
21    from violating:
22                 a.      the Minnesota Uniform Deceptive Trade Practices Act, Minn.
23                 Stat. § 325D.44;
24                 b.      the Minnesota Consumer Fraud Act, Minn. Stat. § 325F.69; and
25                 c.      the Minnesota Debt Settlement Services Act, Minn. Stat. §
26                 332B.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 12 of 32 Page ID
                                      #:11222


 1          25.    Settling Defendant and his officers, agents, servants, employees and
 2    attorneys, and those Persons in active concert or participation with any of them
 3    who receive actual notice of this Order, shall be permanently restrained and
 4    enjoined from violating:
 5                 a.    the North Carolina Debt Adjusting Act, N.C. Gen. Stat. § 14-
 6                 423, et seq.;
 7                 b.    the North Carolina Unfair and Deceptive Practices Act, N.C.
 8                 Gen. Stat. § 75-1.1; and
 9                 c.     the North Carolina Telephonic Seller Registration Act, N.C.
10                 Gen. Stat. § 66-260, et seq.
11          26.    Under the Court’s inherent equitable powers and as authorized by
12    California Business and Professions Code section 17203, this Court is empowered
13    to “make such orders or judgments . . . as may be necessary to prevent the use or
14    employment by any person of any practice which constitutes unfair
15    competition . . .” Cal. Bus & Prof Code § 17203. Accordingly, Settling Defendant
16    and his officers, agents, servants, employees, and attorneys, and all other persons
17    in active concert or participation with them, whether acting directly or indirectly,
18    are permanently restrained from any of the following:
19                 a.     violating California Business and Professions Code section
20                 17200, et seq., through unlawful, fraudulent and/or unfair acts or
21                 practices including but not limited to:
22                       i.        Violating California Financial Code section 12000, et
23                       seq., the California Check Sellers, Bill Payers and Proraters
24                       Law, by acting as a check seller, bill payer, or prorater within
25                       the State of California without first obtaining a license from the
26                       California Commissioner of Business Oversight; and
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 13 of 32 Page ID
                                      #:11223


 1                       ii.    Violating California Financial Code section 28100, et
 2                       seq., the California Student Loan Servicing Act, by engaging in
 3                       the business of servicing student loans in California without first
 4                       obtaining a license as required under the Act.
 5                                              IV
 6                                   Customer Information
 7           27.   Settling Defendant and his officers, agents, servants, employees, and
 8    attorneys, and all other Persons in active concert or participation with any of them,
 9    who receive actual notice of this Order, whether acting directly or indirectly, may
10    not:
11                  a.    disclose, use, or benefit from customer information, including
12                  the name, address, telephone number, email address, social security
13                  number, other identifying information, or any data that enables access
14                  to a customer’s account (including a credit card, bank account, or
15                  other financial account), that Defendants obtained before the
16                  Effective Date in connection with the offering or providing of Debt-
17                  Relief Services; and
18                  b.    attempt to collect, sell, assign, or otherwise transfer any right to
19                  collect payment from any consumer who purchased or agreed to
20                  purchase a Debt-Relief Service from any Defendant.
21           28.   However, customer information may be disclosed if requested by a
22    government agency or required by law, regulation, or court order.
23                               MONETARY PROVISIONS
24                                               V
25                                   Order to Pay Redress
26           29.   A judgment for monetary relief is entered in favor of Plaintiffs and
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 14 of 32 Page ID
                                      #:11224


 1    against Settling Defendant as set forth below. Settling Defendant Albert Kim is
 2    liable, jointly and severally, in the amount of $95,057,757, for the purpose of
 3    providing redress to Affected Consumers.
 4             30.     However, full payment of Settling Defendant’s portion of this
 5    judgment set forth in Paragraph 29 will be suspended, based on Settling
 6    Defendant’s inability to pay, upon Settling Defendant’s satisfaction of the
 7    obligations in Paragraphs 31-36 of this Section, Section VI, Paragraphs 42 and 44-
 8    45 of Section VII, Paragraph 51 of Section IX, and subject to Section VIII of this
 9    Order.
10             31.     Except as necessary to effectuate the transfers required by Paragraph
11    87, Settling Defendant hereby grants to the Bureau all rights and claims he has to
12    all Assets subject to the asset freeze imposed by the Preliminary Injunction entered
13    on November 15, 2019 (ECF 103), including the following bank and financial
14    accounts:
15                   a. Wells Fargo checking account ending in account number 3052; and
16                   b. Venmo account ending in account number Kim-4.
17    Provided, however, that the following Assets shall be released to Settling
18    Defendant: electronics and furniture as identified in the financial statements and
19    supporting documents listed in Section VIII.
20             32.     Within 10 business days from receipt of a copy of this Order by any
21    means, including but not limited to via facsimile or email, the financial institutions
22    identified in Paragraph 31 shall transfer to the Bureau or its designated agent all
23    funds held in the accounts identified in Paragraph 31 by wire transfer to the Bureau
24    or the Bureau’s agent according to the Bureau’s wiring instructions.
25             33.     Except as necessary to effectuate the transfers required by Paragraph
26    87, Settling Defendant hereby grants to the Bureau all rights and claims he has to
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 15 of 32 Page ID
                                      #:11225


 1    the following Assets, as described in the Financial Disclosure Form for Individual
 2    Defendant Albert Kim, executed on November 1, 2019, including attachments, and
 3    the document entitled Albert Kim Supplemental Asset Disclosure Information that
 4    was transmitted to the Bureau on or about June 22, 2020:
 5                a. Audemars Piguet Royal Oak Offshore Summer Edition watch; and
 6                b. Rolex Submariner watch.
 7          34.     Within 14 days of entry of this Order, Settling Defendant is ordered to
 8    deliver and relinquish to the Receiver, or to his designated agent, possession,
 9    custody, and control of Settling Defendant’s Assets identified in Paragraph 33.
10          35.     Settling Defendant shall cooperate fully with the Receiver and shall
11    execute any instrument or document presented by the Receiver, and take any other
12    actions the Receiver deems necessary or appropriate to effect the transfers and
13    liquidation required by Paragraph 34 and Paragraphs 87-88. All property set forth
14    in Paragraph 33 shall constitute Assets of the receivership estate.
15          36.     Settling Defendant hereby grants to the Bureau all rights and claims
16    he has to any Assets not subject to Paragraph 34 that are currently in the
17    possession, custody, or control of the Receiver, and shall forfeit any rights and
18    claims to the funds in the receivership estate, including but not limited to: all funds
19    held, obtained, or to be obtained by the Receiver since the inception of the
20    receivership whether through this Order or otherwise.
21          37.     The suspension of the monetary judgment in Paragraph 30 shall not
22    affect the Receiver’s ability to pursue recovery of funds from any third parties,
23    including family members of Settling Defendant, to satisfy all or a portion of the
24    full monetary judgment entered in Paragraph 29. Settling Defendant shall remain
25    jointly and severally liable for full payment of this judgment to the extent
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 16 of 32 Page ID
                                      #:11226


 1    that funds to satisfy all or a portion of this judgment are able to be recovered from
 2    third parties by the Receiver acting on behalf of the Receivership Defendants.
 3          38.    With regard to any redress that Settling Defendant pays under this
 4    Section, if Settling Defendant receives, directly or indirectly, any reimbursement or
 5    indemnification from any source, including but not limited to payment made under
 6    any insurance policy, or if Settling Defendant secures a tax deduction or tax credit
 7    with regard to any federal, state, or local tax, Settling Defendant must: (a)
 8    immediately notify the Enforcement Director and States in writing, and (b) within
 9    10 days of receiving the funds or monetary benefit, Settling Defendant must
10    transfer the full amount of such funds or monetary benefit (Additional Payment) to
11    the Bureau or to the Bureau’s agent according to the Bureau’s wiring instructions.
12    After the Bureau receives the Additional Payment, the amount of the suspended
13    judgment referenced in Paragraph 29 will be reduced by the amount of the
14    Additional Payment and the Additional Payment will be applied toward
15    satisfaction of the monetary judgment entered in Paragraph 29.
16          39.    Any funds received by the Bureau in satisfaction of this judgment will
17    be deposited into a fund or funds administered by the Bureau or to the Bureau’s
18    agent according to applicable statutes and regulations to be used for redress for
19    Affected Consumers, including but not limited to refund of moneys, restitution,
20    damages or other monetary relief, and for any attendant expenses for the
21    administration of any such redress.
22          40.    If the Bureau determines, in its sole discretion, that providing redress
23    to consumers is wholly or partially impracticable or if funds remain after the
24    administration of redress is completed, the Bureau will deposit any remaining
25    funds in the U.S. Treasury as disgorgement. Settling Defendant will have no right
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 17 of 32 Page ID
                                      #:11227


 1    to challenge the Bureau’s choice of remedies under this Section, and will have no
 2    right to contest the manner of distribution chosen by the Bureau.
 3          41.    Payment of redress to any Affected Consumer under this Order may
 4    not be conditioned on that Affected Consumer waiving any right.
 5                                              VI
 6                    Order to Pay Civil Money Penalty to the Bureau
 7          42.    Under section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by reason of
 8    the violations of law alleged in the Third Amended Complaint and taking into
 9    account the factors in 12 U.S.C. § 5565(c)(3), Settling Defendant must pay a civil
10    money penalty of $1 to the Bureau. This nominal civil penalty is based on Settling
11    Defendant’s limited ability to pay as attested to in all financial statements and
12    supporting documents listed in Section VIII.
13          43.    Within 10 days of the Effective Date, Settling Defendant must pay the
14    civil money penalty by wire transfer to the Bureau or to the Bureau’s agent in
15    compliance with the Bureau’s wiring instructions.
16          44.    The civil money penalty paid under this Order will be deposited in the
17    Civil Penalty Fund of the Bureau as required by section 1017(d) of the CFPA,
18    12 U.S.C. § 5497(d).
19                                             VII
20                    Order to Pay Civil Money Penalties to the States
21          45.    Settling Defendant is liable to pay civil penalties in this Enforcement
22    Action under Minn. Stat. § 8.31 in the total amount of $5,000 to the State of
23    Minnesota, as provided in Paragraph 87.
24          46.    The Minnesota Attorney General will remit these funds to the general
25    fund of the State of Minnesota pursuant to Minn. Stat. §§ 8.31 and 16A.151.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 18 of 32 Page ID
                                      #:11228


 1            47.   Settling Defendant is liable to pay civil penalties in this Enforcement
 2    Action under N.C. Gen. Stat. § 75-15.2 in the total amount of $5,000 to the State of
 3    North Carolina, as provided in Paragraph 87.
 4            48.   Settling Defendant is liable to pay civil penalties in this Enforcement
 5    Action under California Business and Professions Code section 17206 in the total
 6    amount of $5,000 to the People of the State of California, as provided in Paragraph
 7    87.
 8                                             VIII
 9          Misrepresentation or Omission Regarding Financial Condition or Non-
10             Compliance with Order to Pay Redress or Civil Money Penalty
11            49.   The suspension of the monetary judgment entered in Section V of this
12    Order is expressly premised on the truthfulness, accuracy, and completeness of
13    Settling Defendant’s sworn financial statements and supporting documents, which
14    Settling Defendant asserts are truthful, accurate, and complete, and which include:
15                  a.    Financial Statement of Albert Kim, including all attachments,
16                  signed on November 11, 2019, and supplemented on June 22, 2020,
17                  September 8, 2021, May 4, 2022 and May 17, 2022.
18            50.   If upon motion by any Plaintiff, the Court determines that Settling
19    Defendant has failed to disclose any material Asset or that any of his financial
20    statements contain any material misrepresentation or omission, including
21    materially misstating the value of any Asset, the Court shall terminate the
22    suspension of the monetary judgment for Settling Defendant entered in Section V
23    and without further adjudication, shall reinstate the judgment entered in Section V
24    of this Order and the full judgment set forth in that Section shall be immediately
25    due and payable, less any amounts paid to the Bureau.
26            51.   If the Court terminates the suspension of the monetary judgment
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 19 of 32 Page ID
                                      #:11229


 1    under this Section, the Bureau will be entitled to interest on the judgment,
 2    computed from the date of entry of this Order, at the rate prescribed by 28 U.S.C.
 3    § 1961, as amended, on any outstanding amounts not paid.
 4          52.    Provided, however, that in all other respects this Order shall remain in
 5    full force and effect unless otherwise ordered by the Court; and, provided further,
 6    that proceedings instituted under this Section would be in addition to, and not in
 7    lieu of any other civil or criminal remedies as may be provided by law, including
 8    any other proceedings that Plaintiffs may initiate to enforce this Order.
 9                                             IX
10                             Additional Monetary Provisions
11          53.    In the event of any default on Settling Defendant’s obligations to
12    make payment under this Order, interest, computed under 28 U.S.C. § 1961, as
13    amended, will accrue on any outstanding amounts not paid from the date of default
14    to the date of payment, and will immediately become due and payable.
15          54.    Settling Defendant relinquishes all dominion, control, and title to the
16    funds and all other Assets transferred or paid under this Order to the fullest extent
17    permitted by law and no part of the funds or other Assets may be returned to
18    Settling Defendant.
19          55.    The facts alleged in the Third Amended Complaint will be taken as
20    true and given collateral estoppel effect, without further proof, in any proceeding
21    based on the entry of the Order, or in any subsequent civil litigation by or on behalf
22    of the Plaintiffs, including in a proceeding to enforce their rights to any payment or
23    monetary judgment under this Order, such as a non-dischargeability complaint in
24    any bankruptcy case.
25          56.    The facts alleged in the Third Amended Complaint establish all
26    elements necessary to sustain an action by the Plaintiffs under section 523(a)(2)(A)
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 20 of 32 Page ID
                                      #:11230


 1    of the Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and for such purposes this
 2    Order will have collateral estoppel effect against Settling Defendant, even in his
 3    capacity as debtor-in-possession.
 4          57.    Under 31 U.S.C. § 7701, Settling Defendant, unless he has already
 5    done so, must furnish to Plaintiffs any taxpayer-identifying numbers associated
 6    with him or his Assets, which may be used for purposes of collecting and reporting
 7    on any delinquent amount arising out of this Order.
 8          58.    Within 30 days of the entry of a final judgment, order, or settlement in
 9    a Related Consumer Action, Settling Defendant must notify the Enforcement
10    Director of the final judgment, order, or settlement in writing. That notification
11    must indicate the amount of redress, if any, that the Settling Defendant paid or is
12    required to pay to consumers and describe the consumers or classes of consumers
13    to whom that redress has been or will be paid. To preserve the deterrent effect of
14    the civil money penalty in any Related Consumer Action, Settling Defendant may
15    not argue that he is entitled to, nor may Settling Defendant benefit by, any offset or
16    reduction of any monetary remedies imposed in the Related Consumer Action
17    because of the civil money penalty paid in this action or because of any payment
18    that the Bureau makes from the Civil Penalty Fund. If the court in any Related
19    Consumer Action offsets or otherwise reduces the amount of compensatory
20    monetary remedies imposed against Settling Defendant based on the civil money
21    penalty paid in this action or based on any payment that the Bureau makes from the
22    Civil Penalty Fund, the Settling Defendant must, within 30 days after entry of a
23    final order granting such offset or reduction, notify the Bureau and pay the amount
24    of the offset or reduction to the U.S. Treasury. Such a payment will not be
25    considered an additional civil money penalty and will not change the amount of the
26    civil money penalty imposed in this action.
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 21 of 32 Page ID
                                      #:11231


 1          59.    Upon written request, any consumer reporting agency may furnish
 2    consumer reports to any Plaintiff concerning Settling Defendant under section
 3    604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.§ 1681b(a)(1), which may be
 4    used for purposes of collecting and reporting on any delinquent amount arising out
 5    of this Order.
 6          60.    Settling Defendant must treat all civil money penalties paid under this
 7    Order as a penalty paid to the government for all purposes. Regardless of how such
 8    funds are used, Settling Defendant may not:
 9                 a.    claim, assert, or apply for a tax deduction, tax credit, or any
10                 other tax benefit for any civil money penalty paid under this Order; or
11                 b.    seek or accept, directly or indirectly, reimbursement or
12                 indemnification from any source, including but not limited to payment
13                 made under any insurance policy, with regard to any civil money
14                 penalty paid under this Order.
15          61.    Settling Defendant agrees that the civil penalties imposed by the
16    Order under Sections VI and VII represent penalties paid to the Bureau and the
17    States, respectively, not compensation for actual pecuniary loss, and, thus, as to the
18    Settling Defendant, are not subject to discharge under the Bankruptcy Code under
19    11 U.S.C. § 523(a)(7).
20                                              X
21                                  Lifting of Asset Freeze
22          62.    The freeze on the Assets of Settling Defendant is modified to permit
23    the payments and other transfers of Assets identified in Sections V, VI, VII and IX
24    of this Order. Upon completion of all payments and other obligations identified in
25    Sections V, VI, VII and IX of this Order, the freeze of the Settling Defendant’s
26    Assets pursuant to the Preliminary Injunction entered on November 15, 2019 (ECF
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 22 of 32 Page ID
                                      #:11232


 1    103), shall be dissolved.
 2                                COMPLIANCE PROVISIONS
 3                                              XI
 4                                  Reporting Requirements
 5          63.    Settling Defendant must notify Plaintiffs of any development that may
 6    affect compliance obligations arising under this Order, including but not limited to,
 7    a dissolution, assignment, sale, merger, or other action that would result in the
 8    emergence of a successor company; the creation or dissolution of a subsidiary,
 9    parent, or affiliate that engages in any acts or practices subject to this Order; the
10    filing of any bankruptcy or insolvency proceeding by or against Settling
11    Defendant; or a change in Settling Defendant’s name or address. Settling
12    Defendant must provide this notice at least 30 days before the development or as
13    soon as practicable after learning about the development, whichever is sooner.
14          64.    Within 7 days of the Effective Date, Settling Defendant must:
15                 a.     designate at least one telephone number and email, physical,
16                 and postal address as points of contact, which Plaintiffs may use to
17                 communicate with Settling Defendant;
18                 b.     identify all businesses for which Settling Defendant is the
19                 majority owner, or that such Settling Defendant directly or indirectly
20                 controls, by all of their names, telephone numbers, and physical,
21                 postal, email, and Internet addresses;
22                 c.     describe the activities of each such business, including the
23                 products and services offered, and the means of advertising,
24                 marketing, and sales;
25                 d.     identify Settling Defendant’s telephone numbers and all email,
26                 Internet, physical, and postal addresses, including all residences; and
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 23 of 32 Page ID
                                      #:11233


 1                e.     describe in detail Settling Defendant’s involvement in any
 2                business for which he performs services in any capacity or which he
 3                wholly or partially owns, including his title, role, responsibilities,
 4                participation, authority, control, and ownership.
 5          65.   Settling Defendant must report any change in the information required
 6    to be submitted under Paragraph 63 above at least 30 days before the change or as
 7    soon as practicable after learning about the change, whichever is sooner.
 8          66.   Within 90 days of the Effective Date, and again one year after the
 9    Effective Date, Settling Defendant must submit to the Enforcement Director an
10    accurate written compliance progress report sworn to under penalty of perjury
11    (Compliance Report), which, at a minimum:
12                a.     lists each applicable paragraph and subparagraph of this Order
13                and describes in detail the manner and form in which Settling
14                Defendant has complied with each such paragraph and subparagraph
15                of this Order; and
16                b.     attaches a copy of each Order Acknowledgment obtained under
17                Section XII, unless previously submitted to the Bureau.
18                                            XII
19                       Order Distribution and Acknowledgment
20          67.   Within 7 days of the Effective Date, Settling Defendant must submit
21    to the Enforcement Director an acknowledgment of receipt of this Order, sworn
22    under penalty of perjury.
23          68.   Within 30 days of the Effective Date, Settling Defendant, for any
24    business for which he is the majority owner or which he directly or indirectly
25    controls, must deliver a copy of this Order to each of its board members and
26    executive officers, as well as to any managers, employees, Service Providers, or
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 24 of 32 Page ID
                                      #:11234


 1    other agents and representatives who have responsibilities related to the subject
 2    matter of the Order.
 3          69.    For 5 years from the Effective Date, Settling Defendant, for any
 4    business for which he is the majority owner or which he directly or indirectly
 5    controls, must deliver a copy of this Order to any business entity resulting from
 6    any change in structure referred to in Section XI, any future board members and
 7    executive officers, as well as to any managers, employees, Service Providers, or
 8    other agents and representatives who will have responsibilities related to the
 9    subject matter of the Order before they assume their responsibilities.
10          70.    Settling Defendant must secure a signed and dated statement
11    acknowledging receipt of a copy of this Order, ensuring that any electronic
12    signatures comply with the requirements of the E-Sign Act, 15 U.S.C. § 7001 et
13    seq., within 30 days of delivery, from all Persons receiving a copy of this Order
14    under this Section.
15          71.    Within 90 days of the Effective Date, Settling Defendant must provide
16    the Bureau with a list of all persons and their titles to whom this Order was
17    delivered through that date under Paragraphs 68-69 and a copy of all signed and
18    dated statements acknowledging receipt of this Order under Paragraph 70.
19                                            XIII
20                                      Recordkeeping
21          72.    Settling Defendant must create, for at least 10 years from the Effective
22    Date, the following business records for any business for which the Settling
23    Defendant, individually or collectively with any other Defendant, is a majority
24    owner or which Settling Defendant directly or indirectly controls: all documents
25    and records necessary to demonstrate full compliance with each provision of this
26    Order, including all submissions to any Plaintiff. Settling Defendant must retain
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 25 of 32 Page ID
                                      #:11235


 1    these documents for at least 10 years after creation and make them available to
 2    Plaintiffs upon any Plaintiff’s request.
 3          73.    Settling Defendant must maintain, for at least 10 years from the
 4    Effective Date or 5 years after creation, whichever is longer:
 5                 a.     copies of all sales scripts; training materials; advertisements;
 6                 websites; and other marketing materials, including any such materials
 7                 used by a third party on Settling Defendant’s behalf, relating to any
 8                 Consumer Financial Product or Service;
 9                 b.     for each individual Affected Consumer and his or her
10                 enrollment in that Consumer Financial Product or Service: the
11                 consumer’s name, address, phone number, email address; amount
12                 paid, quantity of Consumer Financial Products or Services purchased,
13                 description of the Consumer Financial Product or Service purchased,
14                 the date on which the Consumer Financial Product or Service was
15                 purchased, a copy of any promotional or welcome materials provided,
16                 and, if applicable, the date and reason the consumer left the program;
17                 c.     for all Consumer Financial Products or Services, accounting
18                 records showing the gross and net revenues generated by the
19                 Consumer Financial Product or Service;
20                 d.     all consumer complaints and refund requests (whether received
21                 directly or indirectly, such as through a third party) relating to a
22                 Consumer Financial Product or Service, and any responses to those
23                 complaints or requests;
24                 e.     records showing, for each employee providing services related
25                 to a Consumer Financial Product or Service, that person’s name,
26                 telephone number, email, physical, and postal address, job title or
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 26 of 32 Page ID
                                      #:11236


 1                 position, dates of service, and, if applicable, the reason for
 2                 termination; and
 3                 f.    records showing, for each Service Provider providing services
 4                 related to a Consumer Financial Product or Service, the name of a
 5                 point of contact, and that Person’s telephone number, email, physical,
 6                 and postal address, job title or position, dates of service, and, if
 7                 applicable, the reason for termination.
 8          74.    Settling Defendant must make these materials available to Plaintiffs
 9    upon any Plaintiff’s request.
10                                             XIV
11                                           Notices
12          75.    Unless otherwise directed in writing by the Bureau, Settling
13    Defendant must provide all submissions, requests, communications, or other
14    documents relating to this Order in writing, with the subject line, “CFPB, et al., v.
15    CAC, et al., Case No. 8:19-cv-01998-MWF-KS” and send them by overnight
16    courier or first-class mail to the below address and contemporaneously by email to
17    Enforcement_Compliance@cfpb.gov:
18                 Assistant Director for Enforcement
19                 Bureau of Consumer Financial Protection
20                 ATTENTION: Office of Enforcement
21                 1700 G Street, N.W.
22                 Washington, D.C. 20552
23          76.    Unless otherwise directed by a representative of the State of
24    Minnesota in writing, all submissions to the State of Minnesota pursuant to this
25    Order must be sent by overnight courier or first-class mail to the below address and
26    contemporaneously by email to evan.romanoff@ag.state.mn.us:
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                                         26
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 27 of 32 Page ID
                                      #:11237


 1                 Evan Romanoff, Assistant Attorney General
 2                 Office of the Minnesota Attorney General
 3                 445 Minnesota Street, Suite 1200
 4                 St. Paul, Minnesota 55101
 5          77.    Unless otherwise directed by a representative of the State of North
 6    Carolina in writing, all submissions to the State of North Carolina pursuant to this
 7    Order must be sent by overnight courier or first-class mail to the below address and
 8    contemporaneously by email to lweaver@ncdoj.gov:
 9                 M. Lynne Weaver, Special Deputy Attorney General
10                 North Carolina Department of Justice
11                 114 W. Edenton Street
12                 Raleigh, North Carolina 27603
13          78.    Unless otherwise directed by the State of California in writing, all
14    submissions to the State of California pursuant to this Order must be sent by
15    overnight courier or first-class mail to the below address and contemporaneously
16    by email to christina.tusan@lacity.org:
17                 Christina Tusan
18                 Supervising Deputy City Attorney
19                 Los Angeles City Attorney’s Office
20                 200 N. Main Street, 5th Floor
21                 Los Angeles, CA 90012
22                                              XV
23                                Cooperation with Plaintiffs
24          79.    Settling Defendant must cooperate fully with Plaintiffs in this matter
25    and in any investigation or litigation related to or associated with the conduct
26    described in the Third Amended Complaint, including related to the Bankruptcy
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                                         27
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 28 of 32 Page ID
                                      #:11238


 1    Proceeding. Settling Defendant must provide truthful and complete information,
 2    evidence, and testimony. Settling Defendant must appear for interviews, discovery,
 3    hearings, trials, and any other proceedings that any Plaintiff may reasonably
 4    request upon 10 days written notice, or other reasonable notice, at such places and
 5    times as Plaintiff may designate, without the service of compulsory process.
 6           80.   Settling Defendant must cooperate fully to help Plaintiffs determine
 7    the identity, location, and contact information of any Defendant and any Person
 8    who might have contact information for any Defendant. Settling Defendant must
 9    provide such information in their or their agents’ possession or control within 14
10    days of receiving a written request from any Plaintiff.
11           81.   Settling Defendant must cooperate fully to help Plaintiffs determine
12    the identity and location of, and the amount of injury sustained by, each Affected
13    Consumer. Settling Defendant must provide such information in his or his agents’
14    possession or control within 14 days of receiving a written request from any
15    Plaintiff.
16                                            XVI
17                                 Compliance Monitoring
18           To monitor Settling Defendant’s compliance with this Order, including the
19    financial representations upon which part of the judgment was suspended:
20           82.   Within 14 days of receipt of a written request from any Plaintiff,
21    Settling Defendant must submit additional Compliance Reports or other requested
22    information, which must be made under penalty of perjury; provide sworn
23    testimony; or produce documents.
24           83.   For purposes of this Section, Plaintiffs may communicate directly
25    with Settling Defendant, unless Settling Defendant retains counsel related to these
26    communications.
27
                                         28
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 29 of 32 Page ID
                                      #:11239


 1             84.   Settling Defendant must permit Plaintiffs’ representatives to interview
 2    any employee or other Person affiliated with Settling Defendant who has agreed to
 3    such an interview. The Person interviewed may have counsel present. Nothing in
 4    this Order will limit the Bureau’s lawful use of civil investigative demands under
 5    12 C.F.R. § 1080.6 or any Plaintiff’s use of other compulsory process.
 6             85.   Plaintiffs are authorized by this Order to use all other lawful means,
 7    including posing, through representatives, as consumers, suppliers, or other
 8    individuals or entities, to Settling Defendant or any individual or entity affiliated
 9    with Settling Defendant, without the necessity of identification or prior notice, and
10    may record any communications that occur in the course of such contacts.
11                                             XVII
12                                         Receivership
13             86.   The receivership imposed by this Court shall continue in the manner
14    set forth in the Preliminary Injunction issued on November 15, 2019 (ECF 103), as
15    to all Defendants and Relief Defendants, except as modified by this Section and
16    Section X, and the Receiver shall continue to have the full powers of an equity
17    receiver, as an agent of the Court, pursuant to Sections XIV and XV of the
18    Preliminary Injunction, which shall remain in effect until further order of the
19    Court.
20             87.   Within 14 days of liquidating Settling Defendant’s Assets transferred
21    pursuant to Paragraph 33, the Receiver shall transfer $5,000 to the State of
22    Minnesota, $5,000 to the North Carolina Attorney General, and $5,000 to the
23    People of the State of California from the Settling Defendant’s Assets maintained
24    in the Receiver’s account. Provided, however, that following liquidation of the
25    Assets identified in Paragraph 33 by the Receiver, if the total proceeds after
26    deduction for liquidation costs are less than $15,000, the Receiver shall distribute
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                                         29
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 30 of 32 Page ID
                                      #:11240


 1    such proceeds to each of the States in equal pro rata shares. These transfers shall
 2    be made to satisfy the civil money penalties to each State as set forth in Section
 3    VII.
 4             88.   The Receiver shall promptly take all steps necessary to liquidate
 5    Settling Defendant’s Assets using any commercially reasonable means, including
 6    auction and/or private sale, and all such sales shall be deemed authorized and
 7    approved under 28 U.S.C. § 2004 without further notice, hearing, or court order.
 8    After such liquidation, the Receiver shall remit the net proceeds to the Bureau or
 9    its designated representative as payment toward the monetary judgments entered
10    against Settling Defendant within 21 days of each such sale or liquidation, subject
11    to Paragraph 87.
12             89.   The Receiver and his representatives shall continue to be entitled to
13    reasonable compensation for the performance of their duties pursuant to this Order
14    from the Assets of the Receivership Defendants. The Receiver and his
15    representatives shall not increase their hourly rates without prior approval of the
16    Court.
17                                             XVIII
18                                   Retention of Jurisdiction
19             89.   The Court will retain jurisdiction of this matter for the purpose of
20    enforcing this Order.
21

22
      SO STIPULATED AND AGREED:

23
                                               Respectfully submitted,

24    Dated: June 10, 2022                     By: /s/ N. Nathan Dimock
25                                             N. Nathan Dimock (D.C. Bar No. 487743)
                                               (admitted pro hac vice)
26                                             Enforcement Attorney
27                                             1700 G Street NW
                                         30
28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 31 of 32 Page ID
                                      #:11241


 1                                      Washington, DC 20552
 2
                                        Phone: (202) 435-9198
                                        Fax: (202) 435-9346
 3                                      Email: nathan.dimock@cfpb.gov
 4
                                        Attorney for Plaintiff Bureau of Consumer
                                        Financial Protection
 5

 6    Dated: June 10, 2022              By: /s/ M. Lynne Weaver
                                        M. Lynne Weaver (N.C. Bar No. 19397)
 7                                      (admitted pro hac vice)
 8                                      Special Deputy Attorney General
                                        North Carolina Department of Justice
 9                                      114 W. Edenton St.
10                                      Raleigh, NC 27603
                                        Phone: (919) 716-6039
11                                      Fax: (919) 716-6050
12                                      Email: lweaver@ncdoj.gov
                                        Attorney for Plaintiff
13                                      State of North Carolina
14

15    Dated: June 10, 2022              By: /s/ Evan Romanoff
                                        Evan Romanoff (Atty. Reg. No. 0398223)
16                                      (admitted pro hac vice)
17                                      Assistant Attorney General
                                        445 Minnesota Street, Suite 1200
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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
     Case 8:19-cv-01998-MWF-KS Document 381-1 Filed 06/10/22 Page 32 of 32 Page ID
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11    I, N. Nathan Dimock, attest that all other signatories listed, and on whose behalf

12    the filing is submitted, concur in the filing’s content and have authorized the filing.

13                                            /s/ N. Nathan Dimock

14                                            N. Nathan Dimock

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28     STIPULATION AS TO ENTRY OF FINAL JUDGMENT AND ORDER DEFENDANT A KIM
